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                           UNITED STATES DISTRICT COURT

                                     DISTRICT OF OREGON

                                      EUGENE DIVISION


DR. YONGLI ZHANG,                                 Case No. 6:18-cv-00232-MK

                        Plaintiff,                DEFENDANTS’ MOTION FOR
                                                  SUMMARY JUDGMENT
         v.
                                                  Oral Argument Requested
UNIVERSITY OF OREGON, and YUE
FANG,

                        Defendants.


                             CERTIFICATE OF COMPLIANCE

                 Pursuant to Local Rule 7.1, counsel certifies they conferred with Plaintiff’s

counsel and were unable to resolve the issues presented in this motion.

///

///



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                                         MOTION

                 Pursuant to Fed. R. Civ. Pro. 56, Defendants University of Oregon and Yue

Fang move for summary judgment against Plaintiff’s Complaint and on each of

Plaintiff’s claims. This Motion is supported by the memorandum, cases and authorities,

the Declaration of Liani Reeves (“Reeves Dec.”), and the Declaration of Yue Fang

(“Fang Dec.”).




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                             I.     MEMORANDUM OF LAW

A.       INTRODUCTION

                 Plaintiff’s claims boil down to an allegation that he was denied tenure at

the University of Oregon because his former colleague, Dr. Yue Fang, discriminated and

retaliated against him during his tenure review process because Plaintiff did not act

sufficiently Chinese. The University and Dr. Fang deny that. But even if Dr. Fang wanted

to discriminate and retaliate against Plaintiff, there is no evidence that Dr. Fang could or

did affect the decision to deny Plaintiff tenure. That is because there are multiple levels

of independent review before the Provost makes the ultimate decision based on the

merits of a tenure applicant’s file. Plaintiff’s tenure review included the following: an

independent Department recommendation; an independent Department Head

recommendation; an independent College recommendation, an independent Dean’s

recommendation; an independent University committee recommendation; and finally,

an independent decision by the Provost. Dr. Fang was on the first level of review, and

one of 23 people who made recommendations regarding Plaintiff’s tenure application

before the Provost denied tenure.

                 In sum, Plaintiff cannot show discrimination or retaliation for the

following reasons. First, Plaintiff admitted he has no evidence of race or national origin

discrimination. Rather, he speculates that he must have been the victim of

discrimination and retaliation because, in his mind, there is a “lack of other evidence” to

explain the tenure denial. That is not sufficient to establish discrimination. Second,

Plaintiff admitted he raised no allegations of discrimination until after the Provost

denied tenure. Further, the alleged retaliation is based on events that occurred years

before Plaintiff’s tenure review began. That is not sufficient to establish retaliation.

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Plaintiff’s claims are untimely and have jurisdictional flaws. Accordingly, none of his

claims should survive summary judgment.

B.      RELEVANT BACKGROUND

        1.       Factual Background

Dr. Yue Fang

                 Dr. Yue Fang was born and educated in China. Fang Dec., ¶¶ 2-3. He came

to the United States and completed his academic training at Massachusetts Institute of

Technology. In 1996, he was hired as an Assistant Professor in the University of Oregon

(“University”) Lundquist College of Business (“LCB”) Operations and Business Analytics

(“OBA”) Department. 1 Id. ¶ 5. He applied for tenure in 2001 and was promoted to

Associate Professor with tenure in 2002. Id. He served as OBA Department Head from

2010-2014. Id.

Dr. Yongli Zhang

                 Dr. Yongli Zhang (“Plaintiff”) was born and educated in China. Reeves

Dec., Ex. 1 (Pl. Dep. 13:2-3; 23:15-21). In 2000, he came to the U.S. Id. (Pl. Dep. 13:4-14;

16:15-17). He received Statistics degrees from Ohio State (Masters 2003) and the

University of Minnesota (Ph.D. 2007). Id. (Pl. Dep. 13:17-21). Plaintiff worked as a

statistician data scientist at Edison Mission Marketing & Trading before he began

considering academic jobs in 2008. Id. (Pl. Dep. 25:19-26:9; 28:16-29:10).

2009: Plaintiff started as Visiting Professor




              1 The department was previously “Decision Sciences.” It will be referred to by its
current name, Operations and Business Analytics or “OBA.”


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                 Plaintiff was hired as a Visiting Professor of Statistics in the OBA

Department to teach during Academic Year (“AY”) 2009-2010. Reeves Dec., Ex. 2

(UO1159-1160). Although that was not a tenure track position, Plaintiff expected to have

the opportunity to compete for a tenure track position. Reeves Dec., Ex. 1 (Pl. Dep.

44:17-45:17). Plaintiff signed a Notice of Appointment and Contract which included an

agreement to comply with all University rules and policies. Id. (Pl. Dep. 60:2-15; 60:23-

61:9); Ex. 3 (UO1154).

2010: Plaintiff started tenure track position

                 Plaintiff applied for and was hired for a tenure track position as an

Assistant Professor of Statistics in the OBA in December of 2009. Reeves Dec., Ex. 4

(Zhang15-19); Ex. 5 (Zhang_DS191-193). The Provost informed Plaintiff he would be

considered for tenure during AY 2015-2016. Reeves Dec., Ex. 1 (Pl. Dep. 82:15-24); Ex. 5

(Zhang_DS191-193). Plaintiff again signed a Notice of Appointment and Contract which

included an agreement to comply with University rules and policies. Reeves Dec., Ex. 1

(Pl. Dep. 83:8-18).

                 When Plaintiff started at the University, the OBA Department’s tenured

faculty included: Dr. Sergio Koreisha, Dr. Nagesh Murthy, Dr. Michael Pangburn, and

Dr. Fang. Fang Dec. ¶ 6. Plaintiff, Dr. Fang, and Dr. Koreisha were statisticians. Id. ¶ 7.

Dr. Koreisha was the Department Head until he moved into the LCB Dean’s Office and

Dr. Fang became Department Head in 2010. Id. Dr. Koreisha returned as Department

Head in 2014 and remained so through Plaintiff’s employment. Id.; Reeves Dec., Ex. 1

(Pl. Dep. 59:12-23).




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The Tenure Process

                 Receiving tenure is essentially an award of lifetime employment, and such

an award is not guaranteed. Reeves Dec., Ex. 6 (Coltrane 30b6 Dep. 12:24-13:3).

Plaintiff acknowledges not all professors earn tenure. Reeves Dec., Ex. 1 (Pl. Dep.

113:18-114:4). University and LCB policies and the Collective Bargaining Agreement

between University and United Academics, AAUP (“CBA”) outline tenure standards and

processes. Reeves Dec., Ex. 7 (Zhang757-759); Ex. 8 (UO1603-1607); Ex. 9

(Zhang_DS48, 87-99). Within the University, tenure standards differ across colleges.

Reeves Dec., Ex. 1 (Pl. Dep. 118:11-24).

                 The LCB requires Assistant Professors to achieve high quality teaching,

service, and scholarship, “actively pursu[ing] scholarly research and to publish their

findings in the leading refereed journals in their field.” Reeves Dec., Ex. 10

(Zhang_DS352). Assistant Professors should also attend/present their scholarship at

professional meetings and interact with their colleagues to advance knowledge in the

field. Id. LCB’s promotion and tenure policy outlines requirements in the three areas

evaluated for tenure—research, teaching, and service (“LCB Tenure Policy”). Reeves

Dec., Ex. 1 (Pl. Dep. 119:17-23); Ex. 6 (Coltrane 30b6 Dep. 24:21-25:3); Ex. 7 (Zhang757-

759). With respect to research:

                      [a] favorable recommendation for the position to associate
        professor with tenure requires the candidate to have a significant record of high
        quality scholarly contributions to his or her field.... interpreted to mean that the
        candidate’s research is of a quality commensurate with work published in the top
        journals in the candidate’s discipline, and that leading scholars in the candidate’s
        field along with the departmental colleagues attest to the importance of the
        overall contribution of the candidate’s research. Reeves Dec., Ex. 7 (Zhang757-
        759).




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                 The University Provost has final decision-making authority over tenure

decisions. Reeves Dec., Ex. 6 (Coltrane 30b6 Dep. 24:21-25:3); Ex. 9 (Zhang_DS48, 87-

99). In Plaintiff’s case, Provost Scott Coltrane had the final say on tenure. Reeves Dec.,

Ex. 1 (Pl. Dep. 111:3-10; 112:7-10).

2010-2013: Plaintiff told to improve research productivity

                 Tenure track faculty are reviewed annually. Reeves Dec., Ex. 6 (Coltrane

30b6 Dep. 13:11-21). During Plaintiff’s first-year review, Dr. Fang (then Department

Head) encouraged Plaintiff “to concentrate his efforts on improving and refining the

quality of his articles in order to increase the probability of their acceptance in top

journals.” Reeves Dec., Ex. 1 (Pl. Dep. 142:7-16); Ex. 11 (UO3546-47).

                 Tenure-track professors receive a major review during their third year.

Reeves Dec., Ex. 9 (Zhang_DS48, 87-99). To receive another three-year contract, the

College must reasonably expect that the candidate has potential to achieve tenure.

Reeves Dec., Ex. 7 (Zhang757-759). Where progress is deficient, in lieu of terminating an

assistant professor, the College may recommend reappointment for a shorter period

with another intensive review. Id.

                 Plaintiff’s third-year review occurred in 2013. Reeves Dec., Ex. 1 (Pl. Dep.

81:4-17; 261:11-15). Plaintiff understood that if his progress was insufficient, his

employment might end. Id. (Pl. Dep. 81:18-82:2). An OBA Committee (Dr. Fang and Dr.

Murthy) found Plaintiff’s teaching and service adequate, but his “research performance

thus far is lower than expected and desired.” Reeves Dec., Ex. 12 (UO1938-1942).

Although concerned, they recommended a one-year extension. Id. According to Dr.

Murthy, “on the research side, my first impression was, it’s not looking good. This needs



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to change a lot...I was rooting for his potential.” Reeves Dec., Ex. 13 (Murthy Dep. 14:14-

15:4). According to Dr. Fang:

               I remember we try very hard because we want Dr. Yongli Zhang to
        be successful… Dr. Zhang’s research record is weak. It’s lower than college
        expectation, so we argue…he got two working paper and the review at
        premiere journals, he just need a little bit more time to get this pipeline,
        you know, back on track. Reeves Dec., Ex. 14 (Fang Dep. 37:13-38:5).

                 The LCB Committee similarly found his research deficient and

recommended a one-year extension. Reeves Dec., Ex. 15 (UO1944-1949). They

encouraged Plaintiff “to focus on trying to get kind of the highest possible quality

publications going forward, because there were concerns that the quality level might not

be sufficient to merit tenure if he didn’t step up or ratchet up to that level.” Reeves Dec.,

Ex. 16 (Pangburn Dep. 25:16-24).

                 Based on support from senior members of the OBA (including Dr. Fang),

the LCB Deans gave Plaintiff a one-year contract extension because “a reasonable

expectation exists for you to within one year, get back on a trajectory that may lead to

promotion and tenure.” Reeves Dec., Ex. 17 (UO1952-1956)(emphasis in original).

2014: Plaintiff was given another two years until tenure review

                 At the end of his fourth year (2014), the LCB Deans consulted Dr. Fang

and others and renewed Plaintiff’s contract for another two years. Reeves Dec., Ex. 18

(UO1127-1128). They advised:

                      the revisions and modifications you are making to the two papers
        dealing with Adaptive Data Perturbation and …High Dimensional Data Analysis
        … appear to be sufficiently promising so that if accepted for publication in the
        very near future, could, as part of your overall research portfolio, lead
        to a favorable tenure decision. We sincerely hope that these two papers as
        well as the paper under review … on “Cross validation for Modeling Procedure
        Selection” and at least one of you [sic] other working papers substantially moves
        forward in the review process in the coming year. Id. (UO 1127-1128) (emphasis
        added).
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                 Plaintiff was issued a 2014-2016 Notice of Appointment and Contract,

wherein he again agreed to comply with all University administrative rules and policies.

Reeves Dec., Ex. 19 (Zhang_DS210-211); Ex. 1 (Pl. Dep. 262:16-263:8).

2015: Goulet Award for research

                 Plaintiff made significant research progress during AY 2014-2015.

Therefore, his Department Head, Dr. Koreisha, nominated Plaintiff for the Goulet

Award “because at that time commendation of his work actually came to fruition. He

had two papers either accepted or published. And so for that year, his research was –

merited the – the Goulet award.” Reeves Dec., Ex. 20 (Koreisha 30b6 Dep. 47:10-24).

2015-2016: Plaintiff’s tenure case had multiple levels of review

External Reviewers

                 Plaintiff’s tenure review began in Fall 2015 with the compilation of

preparatory materials. Reeves Dec., Ex. 7 (Zhang757-759); Ex. 20 (Koreisha 30b6 Dep.

48:3-13). External review letters are one of several factors considered in an applicant’s

file; reviewers were chosen in consultation with Plaintiff. Reeves Dec., Ex 14 (Fang Dep.

101:3-19); Ex. 7 (Zhang757-759). Seven external reviewers submitted letters. Reeves

Dec., Ex. 21 (UO3349-3368). The reviewers found Plaintiff’s research to be of

sufficiently high quality to recommend tenure at the University. Id. As discussed below,

the reviewers recommendations seemed oddly superficial.

OBA Committee Recommendation

                 The OBA Tenure Committee (“OBA Committee”) is comprised of all

available tenured members of the department. Reeves Dec., Ex. 22 (Terborg 30b6 Dep.

13:14-24). In Plaintiff’s case, the OBA Committee included Dr. Fang, Dr. Murthy, and

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Dr. Zhibin Yang. They reviewed materials and met multiple times. Reeves Dec., Ex. 13

(Murthy Dep. 21:20-22:1; 35:23-36:4). The OBA Committee determined that Plaintiff’s

research included two “premiere applied statistics journals” or “[t]wo A hits.” Reeves

Dec., Ex. 23 (Zhang339-347); Ex. 13 (Murthy Dep. 56:4-17; 113:12-13). Dr. Murthy felt

that “the research productivity is falling short[.]” Reeves Dec., Ex. 13 (Murthy Dep.

22:4-23:10). He insisted on a cohort analysis 2 because “I think typically our best chance

to support a case is based on cohort analysis.” Id. (Murthy Dep. 33:7-14). “And I have

actually done that consistently for all colleagues, is to fight for – when number is small,

why we still should look for every single reason where we can justify within the

standards of what we expect in the department.” Id. (Murthy Dep. 29:2-17). In

completing the analysis, the OBA Committee noted “the scarcity of data on statistics

faculty in Business Schools.” Reeves Dec., Ex. 23 (Zhang339-347).

                 It was a “tough case.” Dr. Murthy testified: “I had tremendous

expectations for his potential…when somebody is being denied tenure, it is a difficult

decision. You want to be very sure that you are doing the right thing and the right

assessment and being fair.” Reeves Dec., Ex. 13 (Murthy Dep. 66:4-20). The case was

also difficult for Dr. Fang. He even suggested that the committee provide a conditional

offer of tenure. Fang Dec. ¶ 16. However, Dr. Koreisha clarified they had to make

recommendations on the current record, “not on conditional what if – you know, what

we wished for, what could happen in the future.” Reeves Dec., Ex. 25 (Koreisha Dep.



               2 A cohort analysis is used “to evaluate the candidate against others of similar
graduation dates. It is one way within a holistic approach to evaluate that person’s research
contributions compared to what others are doing. This allows you to see how you are – how you
are comparing to your competition.” Reeves Dec., Ex. 24 (Terborg Dep. 13:9-16).


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64:11-19). The OBA Committee issued its recommendation on December 4, 2015,

finding Plaintiff met standards for teaching and service, but not research. Reeves Dec.,

Ex. 23 (Zhang339-347). The committee was “impressed with the quality of Dr. Zhang’s

work,” but “we have significant concerns with regards to Professor Zhang’s research

productivity[.]” Id.

Dr. Sergio Koreisha, OBA Department Head Recommendation

                 Dr. Koreisha issued his recommendation on December 12, 2015. Reeves

Dec., Ex. 26 (UO2514-2520). Dr. Koreisha assessed Plaintiff’s research to include two

articles in premiere applied business statistics journals. Id. Plaintiff met teaching and

service standards, but “his research portfolio to date falls short of our expectations.” Id.

Dr. Koreisha’s assessment was independent of the Department’s. Reeves Dec., Ex. 25

(Koreisha Dep. 45:7-23).

LCB Committee Recommendation

                 The Dean’s Office selects the members of the LCB Committee which

includes a tenured faculty member from each of the five LCB departments. Reeves Dec.,

Ex. 22 (Terborg 30b6 Dep. 14:11-24; 15:8-11). The LCB Committee was comprised of Dr.

Robert Madrigal, Dr. Ro Gutierrez, Dr. Michael Pangburn, Dr. Ann Parmigiani, and Dr.

Ryan Wilson. Reeves Dec., Ex. 27 (Zhang788-795). Dr. Pangburn represented the OBA

Department. Id.

                 The LCB Committee was “concerned about the productivity dimension or

facet of the case, and they were struck by the disparity between the internal and external

letters” which was “somewhat unusual but not entirely.” Reeves Dec., Ex. 16 (Pangburn

Dep. 35:16-22; 84:25-85:4). The committee “endeavored not only to make our own

independent assessment of his research record but also to understand the factors that
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might have led to the disparity between the internal and external letters.” Reeves Dec.,

Ex. 27 (Zhang788-795). They also reviewed whether the cohort analysis conducted by

the OBA Committee was framed properly. Reeves Dec., Ex. 16 (Pangburn Dep. 58:2-11).

Dr. Gutierrez asked to expand the list of comparators (statisticians in business schools)

to verify whether “the department’s list was a little bit too stringent[.].”Reeves Dec., Ex.

20 (Koreisha 30b6 Dep. 37:5-15; 40:18-41:1). In performing its independent analysis,

the LCB also found that availability of comparators was small. Reeves Dec., Ex. 16

(Pangburn Dep. 98:20-99:15). They concluded that Plaintiff met the standards for

teaching and service but did not meet the research standard. Reeves Dec., Ex. 27

(Zhang788-795).

Dr. James Terborg, LCB Dean Recommendation

                 Dean Terborg also concluded that Plaintiff met teaching and service

standards for tenure, but not research. Reeves Dec., Ex. 28 (Zhang776-778). He noted

“unique aspects to Professor Zhang’s case that required my consideration from multiple

perspectives” including the discrepancy between the internal and external reviewers and

Plaintiff’s receipt of the Goulet Award. Id. Dean Terborg found the external letters

commented on the high quality of work but were “for the most part silent about his

productivity” and provided little support for their conclusions. Id. Additionally, the

Goulet Award looked at research performance from 2014-2015 only; outside of 2014-

2015, Plaintiff had no top quality journal publications. Id.

                 The Dean meets with the candidate before the case goes to the next level to

describe the review to date. Reeves Dec., Ex. 9 (Zhang_DS48, 87-99). This provides an

opportunity to add material if the candidate disagrees and the Dean will hold the file to



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allow additional submissions. 3 Reeves Dec., Ex. 6 (Coltrane 30b6 Dep. 68:2-16; 90:4-

16). Dean Terborg met with Plaintiff and told him that the College could not support his

tenure. Reeves Dec., Ex. 24 (Terborg Dep. 30:24-31:7). Plaintiff was given the

opportunity to withdraw his tenure application; he chose to continue. Id. (Terborg Dep.

30:24-31:7). On February 5, 2016, the Dean issued his recommendation to deny tenure.

Reeves Dec., Ex. 28 (Zhang776-778).

February 2016 Response Letter to Dean

                 Plaintiff submitted a response to the Dean’s letter in February 2016

(“February 2016 Response Letter”), which was written with the help of the faculty

union. Reeves Dec., Ex. 29 (Zhang_DS 185-187); Ex. 1 (Pl. Dep. 177:1-8). Plaintiff

argued that the positive external review letters were nullified by the cohort analysis, his

receipt of the Goulet Award attested to his strong performance, and that in 2011 he had

been informed orally that “two A-level publication will” lead to a favorable tenure

decision. Reeves Dec., Ex. 29 (Zhang_DS185-187). He also took issue with his two A-

level journals being improperly characterized as “applied statistics journals.” Id.

University Faculty Personnel Committee Recommendation

                 On February 29, 2016, the University Faculty Personnel Committee

(“University FPC”) voted on Plaintiff’s case. Reeves Dec., Ex. 30 (Zhang20-22). They

considered Plaintiff’s February 2016 Response Letter and noted it was an “unusual case”

where the external evaluators were supportive and the internal evaluators were not. Id.

“Based on the positive views expressed in the outside letters regarding the quality of the



              3 Plaintiff could add materials throughout the process. Reeves Dec., Ex. 6
(Coltrane 30b6 Dep. 90:20-22); Ex. 24 (Terborg Dep. 31:11-20).


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candidate’s scholarship and the research award granted by the College, the majority of

committee disagrees with the internal evaluators and recommends the granting of

promotion and tenure.” 4 Id.

Provost Scott Coltrane, Tenure Decision

                 Dr. Coltrane served as the Senior Vice President and Provost throughout

Plaintiff’s tenure case. Reeves Dec, Ex. 6 (Coltrane 30b6 Dep. 8:10-9:3). Dr. Coltrane

looked:

                        at the whole of the evidence. And it’s not unusual for the different
        levels of the review to come to different conclusions. And so to the extent there’s
        more ambiguity in a file, it requires more time. But that doesn’t always go in one
        direction. You see some cases where the local reviews are negative, and some
        where they’re positive, and where they’re the opposite at a different level. It varies
        quite a bit, I guess, is what I’m saying. Id. (Coltrane 30b6 Dep. 57:7-25).

At the conclusion of the review, the Provost meets with the candidate as “a courtesy to

discuss with the candidate face-to-face about the grounds and the content of the

recommendation.” Id. (Coltrane 30b6 95:2-8). Provost Coltrane met with Plaintiff on

May 3, 2016 and informed him that his overall record of research did not support

tenure. Reeves Dec., Ex. 31 (Coltrane Dep. 6:3-7:7). Dr. Coltrane told Plaintiff that his

two “A” publications “were not a sufficient quantity. And the citation, and the impact on

the field, the influence on the profession, as far as I could tell, was weaker than other

cases in the past, did not meet the bar.” Id. (Coltrane Dep. 8:1-18).

                 Provost Coltrane issued his decision on May 4, 2016 denying tenure.

Reeves Dec., Ex. 32 (Zhang444).



4The vote was as follows: Strong Yes: 1; Yes: 3; Weak Yes: 4; No: 1; Conflict: 0; Abstain
2; Excused: 1; Absent: 0. Reeves Dec., Ex. 30 (Zhang20-22).



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Plaintiff’s grievance appealing the Provost’s decision

                 Article 21 of the CBA provides “the only appeal process” on the Provost’s

tenure decision. Reeves Dec., Ex. 33 (Zhang_DS48; 99-103). Appeal may be based on:

(1) whether the Provost was presented with errors of fact that materially affected the

decision; (2) whether the Provost disregarded or overlooked material evidence; (3)

whether material information was unavailable through no fault of the candidate; and (4)

whether the decision was arbitrary or capricious. Id. The Provost prepares a written

response and forwards the appeal and response to the Chair of the Promotion and

Tenure Review Appeal Committee (“PTRAC”). The PTRAC evaluates whether an appeal

is justified. “The findings of the committee are not binding, however, they are a

recommendation to the provost.” Reeves Dec., Ex. 6 (Coltrane 30b6 Dep. 44:5-11).

                 On July 15, 2016, Plaintiff submitted a 7-page appeal letter raising three

issues: “Misleading and erroneous assessment of my research quality and productivity”;

“Arbitrary and biased cohort analysis tailored for me”; and “unfairness.” Reeves Dec.,

Ex. 34 (UO6-12). He noted “two major issues” in support: his two journals were

“downgraded” by the OBA committee to an “A-”; and the unanimous support from the

external reviewers was replaced by the cohort analysis. Id. “The two issues do not only

violate academic integrity and the LCB tenure code but also result in substantial

discrimination and unfairness.” Id.

                 On August 12, 2016, Dr. Coltrane responded that all of the internal

evaluators

                      clearly accept[ed] the premiere status of the journals in question:
        department committee (“two are in the premiere applied statistics journals”),
        department head’s report (“two articles in premiere applied business statistics
        journals”), college personnel committee (“two publications in top-tier journals”),
        and Dean (“two publications in A level applied statistics journals”). Thus, we
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        cannot concur with Professor Zhang’s claim that evaluation of the quality of the
        journals formed the primary basis for the internal assessments that his
        scholarship did not meet expectations. Reeves Dec., Ex. 35 (Zhang779-782).

He also addressed the cohort analysis noting that external evaluators were asked to

compare Plaintiff with other scholars but failed to do so. Id. The Provost expects

departmental colleagues “not to simply accept the recommendations of the external

reviewers, but rather engage in their own thoughtful analysis of and deliberation about

the facts of the case … we cannot fault Professor Zhang’s departmental or LCB

colleagues for carrying out a cohort analysis, nor can we fault their selection process for

this cohort, which is clearly established and justified in the dossier.” Id. (Zhang779-

782). Dr. Coltrane responded to Plaintiff’s reference to “fundamental discrimination” or

“substantial discrimination”:

                      On the basis of a careful scrutiny of the facts of the case, we see no
        evidence for anything but a rigorous examination of Professor Zhang’s
        professional record. The reports in the dossier evince considerable
        thoughtfulness and a valiant effort to ‘find the way to yes’ on the
        recommendation for tenure, an effort that in the end led each internal reviewer
        and review committee to the conclusion that they could not support a positive
        recommendation. Id. (Zhang 779-782).

                 The PTRAC considered Plaintiff’s appeal on November 18, 2016. Reeves

Dec., Ex. 36 (UO1-3). The PTRAC focused on interpretation of the LCB Policy defining a

significant record of high quality scholarship to mean that the candidate’s research is of

a quality commensurate with work published in the top journals in the candidate’s

discipline. Id. The PTRAC found that the Provost did not give due consideration to the

phrase “commensurate with”:

                      Based on the answers we received from the witnesses at the hearing
        the PTRAC finds that at all levels of the tenure review, and in the Provost’s
        response, the clear language on research evaluation in the Policy, which is the set
        of tenure and promotion guidelines for all departments in the LCB, was either
        ignored or not noticed. Since the external reviewers, who were vetted by the
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        Department itself, all recommended Professor Zhang for promotion with
        indefinite tenure on the basis of the quality of his publications, we find the
        procedure in his tenure case was not based either on the Policy or on the external
        reviewers’ recommendations. For this reason, we find that Professor Zhang’s
        appeal is justified. Id. (UO1-3).

Provost Coltrane upholds his decision

                 After reviewing Plaintiff’s case again, on December 12, 2016, the Provost

affirmed his decision to deny tenure. Reeves Dec., Ex. 37 (Zhang786-787). Responding

to PTRAC’s conclusion that he did not consider “commensurate with,” he clarified that

quality was not the issue at any level. Id. “The external and internal review committees

reported favorably on the quality of your publications, based both on their appearance

in highly-rated journals and on individual and collective evaluations of their quality

regarding the journal in which they were published.” Id. However, the issue

unaddressed by external reviewers was the broader question of overall contribution. Id.

Appeal to the President

                 The CBA provides that the faculty member may appeal to the President.

Reeves Dec., Ex. 33 (Zhang_DS48; 99-103). “The President’s decision is final and

binding and is not subject to grievance, arbitration or further appeal.” Id. Plaintiff

submitted an appeal to UO President on December 21, 2016. Reeves Dec., Ex. 38

(UO1442-1444). On January 11, 2017, the President affirmed the Provost’s decision and

found “it is my conclusion that your case was handled in a manner completely consistent

with the University and [LCB] policies and procedures.” Reeves Dec., Ex. 39 (UO1445).

        2.       Allegations Against Dr. Fang

                 The cornerstone of Plaintiff’s case is his claim that Dr. Fang made

“unethical requests” of him because of their shared Chinese heritage, and then retaliated



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against Plaintiff because he refused those requests. Plaintiff’s alleged unethical requests

span from 2010 to 2013.

2010: Loan to Purchase Home

                 Plaintiff claims Dr. Fang “forced Zhang to loan him about $40,000, which

Fang said he needed to complete the purchase of a new home.” Amended Complaint ¶

40. But Plaintiff testified that the loan was actually only for $8,000 and that it was a

“request” to which he acquiesced without objection—not a “demand.” Reeves Dec., Ex. 1

(Pl. Dep. 192:16-194:194:7; 198:24-199:4). Plaintiff’s only concern was how soon he

would be paid back. Id. (Pl. Dep. 195:11-18). Plaintiff described the loan as

“inappropriate” (as opposed to “unethical”). Id. (Pl. Dep. 206:9-13). Plaintiff never told

Dr. Fang he felt the request was inappropriate, nor did Plaintiff make any reports to

anyone at the University prior to his tenure denial about the loan. Id. (Pl. Dep. 199:5-

16).

2010: Independent Study with Dr. Fang’s Son

                 Plaintiff alleges that in Fall 2010, Dr. Fang asked him to help his son on a

research project. Id. (Pl. Dep. 150:2-25). Plaintiff did not find the initial request to be

objectionable. Id. (Pl. Dep. 153:11-18). However, “[f]ollowing this conversation, after I

gave him some suggestions, [Dr. Fang] asked me to do this project. I cannot accept

this… But finally, I did it.” Id. (Pl. Dep. 151:1-12). According to Plaintiff, the project with

Dr. Fang’s son changed their relationship and crossed a boundary. Plaintiff could not

identify an ethical violation: “I’m not very familiar with the code, but from my

understanding, I think profession is profession. Personal is personal.” Id. (Pl. Dep.

153:2-10; 164:2-8). Plaintiff never objected to the request. Id. (Pl. Dep. 163:24-164:1).



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Nor did he report the son’s independent study to anyone at the University prior to his

tenure denial. Id. (Pl. Dep. 165:3-13).

2013: Independent Study with Dr. Fang’s Daughter

                 Plaintiff alleges that in Fall 2013, 5 Dr. Fang “asked for my permission” to

register Dr. Fang’s daughter in an independent study, and “I said, ‘Okay, you can

register my independent study.’” Id. (Pl. Dep. 165:25-166:6). According to Plaintiff, Dr.

Fang’s daughter did no work, he never spoke to her, and never saw a written paper. Id.

(Pl. Dep. 166:7-22; 169:6-12). Nonetheless, he gave her an "A." 6 Id. (Pl. Dep. 166:23-

167:9; 170:15-24). Plaintiff “never” said “no” to Dr. Fang’s request. Id. (Pl. Dep. 169:13-

24). Nor did he make any reports to anyone at the University prior to his tenure denial

about the daughter’s independent study. Id. (Pl. Dep. 173:22-174:10).

2013: Suggested Co-Authorship on Papers

                 In June 2013, Dr. Fang suggested that he and Plaintiff collaborate on

research; Plaintiff felt “very uncomfortable” with the conversation because Plaintiff felt

that Dr. Fang was asking to be added to a single authored paper without doing any work.

Id. (Pl. Dep. 213:13-21; 214:13-22). That is not what Dr. Fang said, but Plaintiff felt “very

uncomfortable about that conversation. His words were very straightforward, ‘We

should help each other. And I put your name. So if I do something, I put your name. You



               5 Dr. Fang’s daughter did an independent study in Fall 2013, however Plaintiff’s
Complaint lists the date as 2010. Plaintiff testified that this is a “typo.” Reeves Dec., Ex. 1 (Pl.
Dep. 192:7-21).

               6 Although not necessary to resolve for this motion, Dr. Fang disputes that his
daughter did not do any work to earn the grade. Fang Dec. ¶ 15 . However, Plaintiff’s admission
that he gave an “A” that was not earned would be a serious violation of University policy and a
possible separate basis to deny tenure.


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do something, put my name. Okay. Everyone will have two papers.’” Id. (Pl. Dep: 228:7-

16). Dr. Fang’s actual words were: “We should help each other on publication.” Id. (Pl.

Dep. 228:17-20). Plaintiff felt like Dr. Fang’s request was unethical and speculates that

Dr. Fang “must be a little disappointed when I said no.” Id. (Pl. Dep. 230:4-14; 209:5-

210:5; 229:24-230:3.) However, Plaintiff never told anyone at the University about the

conversation. Id. (Pl. Dep. 230:4-14).

Plaintiff’s Relationship with Dr. Fang

                 Dr. Fang and his family supported Plaintiff as a friend and colleague. In

2011 and 2013, Dr. Fang wrote to the U.S. Citizenship and Immigration Services on

Plaintiff’s behalf in support of permanent residency and his HB-1 visa. Fang Dec. ¶ 13.

Dr. Fang’s wife researched and provided recommendations on a summer camp for

Plaintiff’s nephew on his request. Reeves Dec., Ex. 1 (Pl. Dep. 203:10-20; 204:16-21).

Further, Dr. Fang collaborated with Plaintiff on research as evidenced by Plaintiff listing

five separate projects with Dr. Fang as part of his research portfolio for tenure. Reeves

Dec., Ex. 40 (UO985-987).

        3.       Procedural Background

                 After being denied tenure, Plaintiff filed a notice under the Oregon Tort

Claims Act on May 26, 2017. Reeves Dec., Ex. 41. Plaintiff filed a complaint with the

Oregon Bureau of Labor and Industries (“BOLI”) and EEOC on October 2 and 9, 2017.

Reeves Dec., Ex. 42; Ex. 43. On January 2, 2018, BOLI issued a 90-day notice. Reeves

Dec., Ex. 44. EEOC issued its 90-day notice on February 6, 2018. Reeves Dec., Ex. 45.

Plaintiff filed his lawsuit February 5, 2018; he filed his Amended Complaint May 3,

2018. (ECF #s 1 and 11).



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C.      SUMMARY JUDGMENT STANDARD

                 Summary judgment is permitted when there is no genuine issue as to any

material fact and the moving party is entitled to a judgment as a matter of law. Fed. R.

Civ. Proc. 56(c). If a party fails to make a showing sufficient to establish the existence of

an element essential to the party’s case, and on which that party will bear the burden of

proof at trial, summary judgment is appropriate. A principal purpose of summary

judgment “is to isolate and dispose of factually unsupportable claims.” Celotex Corp. v.

Catrett, 477 U.S. 317, 323-4, 106 S. Ct. 2548, 91 L. Ed. 2d 265 (1986). It is “not a

disfavored procedural shortcut,” but is instead the “principal tool by which factually

insufficient claims or defenses [can] be isolated and prevented from going to trial with

the attendant unwarranted consumption of public and private resources.” Id. at 327.

“[T]he mere existence of some alleged factual dispute between the parties will not defeat

an otherwise properly supported motion for summary judgment; the requirement is that

there be no genuine issue of material fact.” Anderson v. Liberty Lobby, Inc., 477 U.S.

242, 247-48, 106 S. Ct. 2505, 91 L. Ed. 2d 202 (1986).

D.      ARGUMENT

        1.       Jurisdictional Issues

                 a.    Plaintiff’s claims are untimely.

                 To bring a claim under ORS Chapter 659A, Plaintiff has one year to file a

civil action or complaint with BOLI. ORS 659A.875(1), (2). Because Plaintiff filed with

BOLI on October 2, 2017, his Oregon employment claims are limited to actions that

occurred on or after October 2, 2016. To bring a Title VII claim, Plaintiff must file a

timely charge of discrimination with EEOC within 300 days. 42 U.S.C. § 2000e-5(e)(1).



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Plaintiff’s EEOC charge was filed on October 9, 2017, limiting his Title VII claim to

actions that occurred on or after December 13, 2016.

                 Plaintiff’s claims are untimely. In a similar case, the U.S. Supreme Court

considered whether a college professor timely filed a complaint alleging that he was

denied tenure because of national origin. Delaware State Coll. v. Ricks, 449 U.S. 250,

101 S.Ct. 498, 66 L.Ed.2d 431 (1980). The professor was notified by the tenure

committee that he did not receive tenure in February 1974, the Board of Trustees voted

to deny tenure in March 1974, and the Trustees informed him of his terminable contract

in June 1974. The professor filed a grievance appealing the decision—the grievance was

denied September 12, 1974. Plaintiff filed with the EEOC on April 4, 1976.

                  The EEOC (as amicus) argued that the statute of limitations commenced

the date his grievance was denied. The Court rejected that argument because

“entertaining a grievance complaining of the tenure decision does not suggest that the

earlier decision was in any respect tentative. The grievance procedure, by its nature, is a

remedy for a prior decision, not an opportunity to influence that decision before it is

made… the pendency of a grievance, or some other method of collateral review of an

employment decision, does not toll the running of the limitations periods.” 449 U.S. at

261 (emphasis in original)(citations omitted). The Court continued, “[t]he existence of

careful procedures to assure fairness in the tenure decision should not obscure the

principle that limitations periods normally commence when the employer’s decision is

made.” 449 U.S. at 261.

                 In this case, the Provost denied Plaintiff’s tenure on May 4, 2016; this

triggered his time to file a discrimination claim. He did not file with EEOC within 300

days or with BOLI within one year. His grievance appealing the Provost’s decision did
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not toll the statute of limitations. Pursuing a CBA violation and filing a discrimination

complaint with BOLI/EEOC are distinct remedies. 7 It logically follows that as such, one

does not toll the other. Plaintiff’s claims under Title VII and ORS 659A 030 are

untimely.

                 b.    Plaintiff’s state claims are barred by the OTCA.

                 Plaintiff claims against the University include Oregon tort claims which

are subject to the Oregon Tort Claims Act (“OTCA”). The OTCA is a limited waiver of

immunity which subjects public bodies in Oregon to limited liability. ORS 30.265(1).

The OTCA requires that a “notice of claim” be given the public body “within 180 days

after the alleged loss or injury.” ORS 30.275(2)(b). “The requirement that notice be

given timely is a substantive condition precedent to recovery under the [OTCA] that, if

not satisfied, deprives a plaintiff of the right to make a claim.” Orr v. City of Eugene, 151

Or. App. 541, 543, 950 P.2d 397, 398 (1997), citing Tyree v. Tyree, 116 Or. App. 317,

320, 840 P.2d 1378 (1992), rev. den. 315 Or. 644, 849 P.2d 525 (1993).

                 Plaintiff’s notice was dated May 26, 2017. Reeves Dec., Ex. 41. Any

actions arising under state law prior to November 27, 2016 (180 days before the notice)

are barred. Plaintiff’s tenure was denied on May 4, 2016. Under Ricks, the filing of a

grievance does not toll the statute of limitations. Nor should it toll the tort claims notice

period which acts as a jurisdictional bar. Plaintiff’s state claims are time-barred.

                7 In Portland State University Chapter of the AAUP v. Portland State
University, 352 Or. 697 (2012), the faculty member filed a grievance challenging nonrenewal of
contract after she filed a sexual harassment complaint. The CBA included a clause that allowed
PSU to discontinue the grievance if the faculty member pursued complaints with an outside
agency. The court discussed rights to pursue redress for contractual violations under the CBA as
distinct from rights to pursue BOLI/EEOC. The clause in the CBA that allowed PSU to
discontinue the grievance if employee filed complaint with BOLI/EEOC was invalid under anti-
retaliation statutes.


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        2.       Count I: Race and National Origin Discrimination - Title
                 VII and ORS 659A.030 Against University

                 a.     Standards under Title VII and ORS 659A.030.

                 Plaintiff claims that he was subject to disparate treatment on the basis of

race and national origin. It is unlawful to “discriminate against any individual with

respect to his compensation, terms, conditions, or privileges of employment, because of

such individual’s race…or nation origin[.]” 42 U.S.C. § 2000e–2(a)(1) (2005). Plaintiff

must show that he “is singled out and treated less favorably than others similarly

situated on account of race.” Cornwell v. Electra Cent. Credit Union, 439 F.3d 1018,

1028 (9th Cir. 2006), citing McGinest v. GTE Serv. Corp., 360 F.3d 1103, 1121 (9th

Cir.2004) (internal quotation marks omitted) (quoting Jauregui v. City of Glendale,

852 F.2d 1128, 1134 (9th Cir.1988)). 8

                 To establish a prima facie case, Plaintiff must offer proof: (1) that he

belongs to a protected class; (2) that he performed satisfactorily; (3) that he suffered an

adverse employment action; and (4) that his employer treated him differently than a

similarly situated employee not in the same protected class. See Cornwell v. Electra

Cent. Credit Union, 439 F.3d 1018, 1028 (9th Cir. 2006), citing McDonnell Douglas

Corp. v. Green, 411 U.S. 792, 802, 93 S.Ct. 1817, 36 L.Ed.2d 668 (1973). “In the context

of employment discrimination law under Title VII, summary judgment is not

appropriate if, based on the evidence in the record, a reasonable jury could conclude by


8 The analysis governing Title VII and ORS 659A.030 is identical. Reid v. Evergreen Aviation
Ground Logistics Enterprises Inc., No. 07-1641-AC, 2009 WL 136019, at *7 (D. Or. Jan. 20,
2009) (“standard for establishing a prima facie case of discrimination under OR.REV.STAT. §
659.030 is identical to that used to establish a prima facie case of discrimination under Title
VII”); Pool v. VanRheen, 297 F.3d 899, 909-10 (9th Cir. 2002) (analyzing retaliation claim under
O.R.S. 659A.030 under Title VII standards). Consequently, Defendant has set forth its analysis
under Title VII law in the discrimination and retaliation sections of this Brief.

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a preponderance of the evidence that the defendant undertook the challenged

employment action because of the plaintiff’s race.” Cornwell, 439 F.3d at 1028.

                 McDonnell Douglas established the “order and allocation of proof” in Title

VII cases: (1) Plaintiff presents evidence sufficient to constitute a prima facie case of

discrimination; (2) the employer “articulates” a legitimate non-discriminatory reason

for the adverse employment decision; and (3) then Plaintiff must show that the

“assigned reason” was “a pretext or discriminatory in its application.” 411 U.S. at 807.

                 b.     Plaintiff has no evidence of discrimination based on
                        race or national origin.

                 Plaintiff fails to meet his prima facie case because he has no evidence that

he was denied tenure because of his race or national origin.

No evidence of race or national origin discrimination by Dr. Fang.

                 Plaintiff’s claims of race and national origin discrimination rely on

allegations that Dr. Fang treated him differently because of their shared Chinese

national origin. See Amended Complaint ¶s 17, 37, 41-45, 47, and 50. But Plaintiff has no

evidence of this. They never discussed Chinese culture requiring respect for elders and

senior colleagues. Reeves Dec., Ex. 1 (Pl. Dep. 148:22-25). Dr. Fang never made any

statements to Plaintiff about how he expected younger Chinese people to behave; he

never made statements criticizing Plaintiff for behavior not comporting with a younger

Chinese person. Id. (Pl. Dep. 240:16-241:3). In fact, Plaintiff’s “evidence” of

discrimination is his subjective lack of evidence of another explanation for not receiving

tenure:

                     You have -- so if all things happens to me, all these things happen to
        me, you should think about the reason. Why did he do this? Because I'm young?
        Because I'm -- because I'm 42 years old? So what's the reason? He made so many
        requests because I'm from Minnesota? Because I'm from Hubei Province? What's
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        the reason? So the only reason I can figure out is Chinese origin. You know your
        mathematics, we call it exclusion. If every possibility is included, then the
        remaining reason is Chinese origin. Id. (Pl. Dep. 239:14-240:15).

                 Plaintiff also attempts to support his discriminatory theory by asserting

that Dr. Fang has not made any similar requests of people who are not Chinese. Id. (Pl.

Dep. 241:4-9). “For such question in statistics, we call it A/B test. So you can ask Yue

Fang if he made similar request from other faculty members who is not Chinese.” Id. (Pl.

Dep. 235:19-236:9). But again, Plaintiff has no evidence that Dr. Fang treats non-

Chinese people dissimilarly. When asked whether Dr. Fang has ever made unethical

requests of non-Chinese faculty members, Plaintiff responded, “I have no idea.” Id. (Pl.

Dep. 239:10-13; 236:16-237:4; 237:24-238:12). Nor does he have evidence of whether

Dr. Fang treated other Chinese people similarly. There are other Chinese faculty

members in the LCB including in the OBA Department. Fang Dec. ¶ 19. Indeed, the fact

that there are other Chinese faculty members who received tenure during Dr. Fang’s

employment negates Plaintiff’s argument and belief. 9

No evidence of influence by Dr. Fang.

                 Dr. Fang was one of over twenty people who participated in making

recommendations in Plaintiff’s tenure case, none of whom had authority to grant tenure.

If a subordinate puts in motion a proceeding by an independent decision maker that

leads to an adverse employment action, “the subordinate’s bias is imputed to the

employer if the plaintiff can prove that the allegedly independent adverse decision was

not actually independent because the bias subordinate influenced or was involved in the

decision making process.” Poland v. Chertoff, 494 F.3d 1174, 1182 (9th Cir. 2007).

                 9   Plaintiff ignores the fact that Dr. Fang simply considered him a friend.


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Plaintiff makes no claim that the decision maker—Provost Coltrane—had any

discriminatory or retaliatory motive. Rather, Plaintiff relies entirely on a discriminatory

and retaliatory motive of Dr. Fang. As discussed, there is no evidence of such motive by

Dr. Fang. But even assuming Plaintiff established some improper motive by Dr. Fang,

Plaintiff fails to show Provost Coltrane was influenced by that.

                 Plaintiff claims that he has “very strong evidence” that Dr. Fang attempted

to influence members of the college committee. He has no evidence. Reeves Dec., Ex. 1

(Pl. Dep. 267:9-25). Plaintiff had no conversations with the other members of the OBA

Committee—Dr. Murthy or Dr. Yang—about whether Dr. Fang influenced them. Id. (Pl.

Dep. 248:5-23). In fact, Dr. Murthy testified that “[Dr. Fang] never had even once any

negative comment while we were assessing. He let us speak our judgment on whether

the – the record was sufficient[.]”Reeves Dec., Ex. 13 (Murthy Dep. 72:5-19). Plaintiff

has no evidence that Dr. Fang attempted to influence Dr. Koreisha or the LCB

Committee. Reeves Dec., Ex. 1 (Pl. Dep. 263:24-264:8; 266:11-22; 269:12-15). He has no

evidence that Dr. Fang had any contact with the Provost or the President. Id. (Pl. Dep.

272:21-23; 274:18-275:6; 304:13-17). He has no evidence of any attempt by Dr. Fang to

influence anyone in the tenure process or be involved in the Provost’s decision-making

process. 10 To the contrary, the evidence demonstrates that Dr. Fang wanted Plaintiff to

be awarded tenure. Fang Dec. ¶ 18.




                 10 Plaintiff advances an argument that Dr. Fang tried to use his status as a
statistician to influence the tenure review. Amended Complaint ¶ 83. This is not evidence of race
or national origin discrimination. Further, Dr. Fang’s statistical expertise had no bearing on the
LCB’s conclusion that the issue was with quantity, not quality.


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                 Plaintiff’s discriminatory or retaliatory motive by Dr. Fang is purely

speculative which is not sufficient. To survive summary judgment, a plaintiff must set

forth non-speculative evidence of specific facts, not sweeping conclusory allegations.

Cafasso, U.S. ex rel. v. Gen. Dynamics C4 Sys., Inc., 637 F.3d 1047, 1060–61 (9th Cir.

2011) (affirming summary judgment where plaintiff defended retaliation claim by

speculating that other officials who knew of her protected activity may have poisoned

decision maker).

                 Plaintiff may argue that Dr. Fang’s discriminatory intent should be

imputed to the Provost (cat’s paw liability). The Supreme Court has considered when

employer may be liable for discriminatory animus of an employee who influenced, but

did not make, the ultimate decision. Staub v. Proctor Hosp., 562 U.S. 411, 131 S. Ct.

1186, 179 L. Ed. 2d 144 (2011). In Staub, the plaintiff’s immediate supervisor and

supervisor above were hostile towards plaintiff’s military obligations. The Court

discussed whether an employer’s decision maker can be isolated from an employee’s

supervisors, holding: “if a supervisor performs an act motivated by antimilitary animus

that is intended by the supervisor to cause an adverse employment action, and if that act

is a proximate cause of the ultimate employment action, then the employer is liable[.]”

Staub, 562 U.S. at 422 (emphasis in original). The Court was very specific about

supervisors: “Since a supervisor is an agent of the employer, when he causes an adverse

employment action the employer causes it; and when discrimination is a motivating

factor in his doing so, it is a motivating fact in the employer's action[.]” 562 U.S. at 421.

                 During the entirety of the tenure process, Dr. Fang was a colleague with no

supervisory position or role. Any discriminatory or retaliatory intent cannot be imputed

to the Provost.
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                 c.     The University had legitimate non-discriminatory
                        reasons for denying tenure.

                 “If the plaintiff establishes a prima facie case, the burden of production—

but not persuasion—then shifts to the employer to articulate some legitimate,

nondiscriminatory reason for the challenged action.” Villiarimo v. Aloha Island Air,

Inc., 281 F.3d 1054,1062 (9th Cir. 2002). Once the employer fulfills this burden of

production, the “presumption of unlawful discrimination ‘simply drops out of the

picture.’ “ Wallis v. J.R. Simplot Col., 26 F.3d 885, 889 (9th Cir. 1994) (quoting St.

Mary's Honor Ctr. v. Hicks, 509 U.S. 502, 507, 113 S.Ct. 2742, 125 L.Ed.2d 407

(1993)). The evidence outlined above demonstrates Plaintiff was denied tenure based on

his lack of research productivity, i.e. the quantity of his scholarship. Deficient

scholarship is an articulated and legitimate, nondiscriminatory reason to deny tenure.

See Laborde v. Regents of Univ. of California, 686 F.2d 715, 718 (9th Cir. 1982)

(holding that deficient scholarship is a legitimate, nondiscriminatory reason to deny

promotion).

                 d.     Plaintiff cannot establish pretext.

                 If the employer sufficiently articulates a nondiscriminatory reason, the

plaintiff “must show that the articulated reason is pretextual ‘either directly by

persuading the court that a discriminatory reason more likely motivated the employer or

indirectly by showing that the employer's proffered explanation is unworthy of

credence.’” Villiarimo, 281 F.3d at 1062 (quoting Chuang v. Univ. of Cal. Davis, 225

F.3d 1115, 1124 (9th Cir.2000)). A plaintiff may meet this burden with direct or

circumstantial evidence. See Coghlan v. American Seafoods Co. LLC, 413 F.3d 1090,

1094–95 (9th Cir.2005). Direct evidence typically consists of sexist, racist or similarly


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discriminatory statements or actions. See Coghlan, 413 F.3d at 1095. Plaintiff has no

direct evidence. A plaintiff may prove pretext with indirect or circumstantial evidence

that shows the employer’s explanation is unworthy of credence. See Vasquez v. County

of L.A., 349 F.3d 634, 641 (9th Cir.2004). Circumstantial evidence must be “specific and

substantial” to defeat the employer’s motion for summary judgment. Godwin v. Hunt

Wesson, Inc., 150 F.3d 1217, 1222 (9th Cir. 1998).

                 Plaintiff offers two theories of “evidence” to show his tenure denial was

pretextual. Both relate to evaluation of his research: how Plaintiff’s journals were

referred to and ranked and the cohort analysis. But Plaintiff’s assumptions and beliefs

are undermined by the evidence. First, the consistent concerns with Plaintiff’s research

were with the quantity, not the quality of research. Plaintiff only published two papers

in premier scholarly journals during a six-year period. Second, Plaintiff believes that the

cohort analysis was created by Dr. Fang to nullify the positive external review letters.

There is no evidence that Dr. Fang was behind cohort analysis; in fact Dr. Murthy

“insisted” on a cohort analysis and Dr. Gutierrez initiated additional analyses at the next

review level. Further, although Plaintiff alleges the cohort analysis was only done in his

case, it is commonly done. Reeves Dec., Ex. 16 (Pangburn Dep. 39:19-40:2; 126:6-8).

                 Because the factual allegations Plaintiff relies on as support for

circumstantial evidence is incorrect, if not the opposite of what he alleges, Plaintiff fails

to show pretext or a prima facie case of discrimination. Accordingly, his discrimination

claims should be dismissed. See Goberman v. Washington Cty., 2001 WL 34045881, at

*10 (D. Or. Apr. 26, 2001) (plaintiff’s “subjective belief that he has been discriminated

against is insufficient to create a genuine issue of material fact.”); Chaudhary v.

Telecare Corp., 2000 WL 1721075, at *6 (N.D. Cal. Nov. 12, 2000) (plaintiff’s conclusory
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allegations to support pretext are insufficient to create a triable issue of fact on her

intentional discrimination claim).

        3.       Count II: Retaliation - Title VII and ORS 659A.030 Against
                 University

                 Under Title VII, it is unlawful “for an employer to discriminate against any

of his employees * * * because he has opposed any practice made an unlawful

employment practice by this subchapter, or because he has made a charge, testified,

assisted, or participated in any manner in an investigation, proceeding, or hearing under

this subchapter.” 42 USC § 2000e-3(a). 11 In order to establish a prima facie case of

retaliation, Plaintiff must demonstrate that (1) he engaged in a protected activity; (2) the

employer subjected him to an adverse employment action; and (3) a causal link exists

between the protected activity and the adverse employment action. See Thomas v. City

of Beaverton, 379 F.3d 802, 811 (9th Cir. 2004); citing Ray v. Henderson, 217 F.3d

1234, 1240 (9th Cir. 2000). Plaintiff cannot meet the first and third elements.

                 a.     Plaintiff did not make any reports before his tenure
                        was denied.

                 Plaintiff cannot establish that he engaged in protected activity. Plaintiff

claims that Dr. Fang discriminated against him as far back as 2010. Reeves Dec., Ex. 1

(Pl. Dep. 241:15-19). Plaintiff knew the CBA included an article on non-discrimination

and a grievance procedure. Id. (Pl. Dep. 94:6-13; 95:16-19; 88:9-89:17). Plaintiff filed no

grievances alleging discrimination, nor did Plaintiff make any reports of race or national

origin discrimination to anyone prior to his tenure being denied. Id. (Pl. Dep. 242:7-13).


               11 ORS 659A.030(1)(f) provides “[i]t is an unlawful employment practice * * *
[f]or any person to discharge, expel or otherwise discriminate against any other person because
that other person has opposed any unlawful practice, or because that other person has filed a
complaint, testified or assisted in any proceeding under this chapter or has attempted to do so.”

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The first report of “discrimination” was during his grievance appeal letter to the Provost

in July 2016, after the Provost had already denied tenure. Id. (Pl. Dep. 241:22-242:13);

Ex. 34 (UO6-12). However, nowhere in the 7-page letter, does Plaintiff mention race,

national origin, or Dr. Fang. Reeves Dec., Ex. 34 (UO6-12). It speaks entirely about the

merits of his case and research record. Id. The first report of discrimination based on

race or national origin was in Plaintiff’s tort claim notice dated May 26, 2017, a year

after the Provost denied tenure—even there, Plaintiff does not mention Dr. Fang. Reeves

Dec., Ex. 41.

                 Plaintiff’s retaliation claims lacks a fundamental element –a protected

activity which led to retaliation.

                 b.     Plaintiff cannot establish causation.

                 Plaintiff must show that engaging in protected activity was one of the

reasons for his tenure denial. Villiarimo v. Aloha Island Air, Inc., 281 F.3d 1054, 1064–

65 (9th Cir. 2002). Plaintiff cannot do so. First, as noted, he did not engage in protected

activity. Second, if Plaintiff is trying to use his refusal of Dr. Fang’s requests as the basis

for retaliation by Dr. Fang, this argument also fails. As discussed, Plaintiff has no

evidence of Dr. Fang’s discriminatory or retaliatory motive.

                 Further, Plaintiff cannot rely on temporal proximity (he rejected Dr.

Fang’s requests and subsequently Dr. Fang recommended against tenure) because the

alleged acts occurred years before Plaintiff’s tenure process. In some cases, causation

can be inferred from timing where adverse employment actions follow on the heels of

protected activity. Villiarimo, 281 F.3d at 1065. However, the temporal proximity “must

be ‘very close[.]” Clark Cty. Sch. Dist. v. Breeden, 532 U.S. 268, 273–74, 121 S. Ct. 1508,

1511, 149 L. Ed. 2d 509 (2001)(20 months between the protected activity and the
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adverse employment action suggests “no causality at all”); Villiarimo, 281 F.3d 1054,

1065 (18-month lapse “is simply too long[.]”). Plaintiff alleges that Professor Fang

retaliated against him for refusing demands in 2010 to 2013. His tenure review was in

Fall 2015. Two years between the alleged activity and the tenure recommendation is too

long to establish causation.

        4.       Count III: Race and National Origin Discrimination
                 Claims - 42 U.S.C. 1981 and 1983 Against University and
                 Dr. Fang

                 a.     The University is not a “person.”

                 Plaintiff’s claim against the University for a violation of 42 U.S.C. § 1983

fails as a matter of law. Plaintiff must establish “(1) deprivation of a right secured by the

Constitution and laws of the United States, and (2) that the deprivation was committed

by a person acting under color of state law.” Chudacoff v. Univ. Med. Ctr. of S. Nevada,

649 F.3d 1143, 1149 (9th Cir. 2011) (citation omitted) (emphasis added). Whether a state

entity is considered a “person” under § 1983 depends on whether the entity would be an

“arm of the state” under the Eleventh Amendment. See Will v. Michigan Dep't of State

Police, 491 U.S. 58, 70 (1989) (“States or governmental entities that are considered

‘arms of the state’ for Eleventh Amendment purposes” are outside the scope of § 1983).

The Ninth Circuit has held that the University of Oregon is an “arm of the state” for

Eleventh Amendment purposes. Rounds v. Oregon State Bd. of Higher Educ., 166 F.3d

1032, 1035 (9th Cir. 1999). As such, it is immune from suit under § 1983. See, e.g.,

Hariri v. Portland State Univ., No. 3:15-CV-1076-PK, 2017 WL 826961, at *11 (D. Or.

Mar. 2, 2017), aff'd, No. 17-35280, 2018 WL 5098830 (9th Cir. Oct. 18, 2018) (Portland

State University is “arm of the state” and immune from § 1983 suit); Houston v. Univ. of

Oregon, No. CIV. 02-6288-TC, 2004 WL 1612950, at *4 (D. Or. Feb. 25, 2004)

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(University of Oregon is an immune “arm of the State”). Likewise, the University is

immune from suit under Plaintiff’s § 1981 as well. See Pittman v. Oregon, Employment

Dep't, 509 F.3d 1065, 1071 (9th Cir. 2007).

                 Plaintiff’s § 1981 and § 1983 claims against the University must be

dismissed. 12

                 b.    Dr. Fang is entitled to qualified immunity.

                 An individual defendant is entitled to qualified immunity when the alleged

actions do not violate “clearly established” rights. “Qualified immunity shields federal

and state officials from money damages unless a plaintiff pleads facts showing (1) that

the official violated a statutory or constitutional right, and (2) that the right was ‘clearly

established’ at the time of the challenged conduct.” Ashcroft v. al-Kidd, 563 U.S. 731,

131 S.Ct. 2074, 2080, 179 L.Ed.2d 1149 (2011) (quoting Harlow v. Fitzgerald, 457 U.S.

800, 818, 102 S.Ct. 2727, 73 L.Ed.2d 396 (1982). The query is not whether the alleged

actions did or did not violate a right (indeed, an individual defendant is entitled to

qualified immunity in spite of the fact that he may have violated a right), the query is

whether the defendant should have known at the time of the alleged actions, that the

actions were “clearly established” violations of Plaintiff’s constitutional or statutory

rights. Qualified immunity is defeated only if “in the light of pre-existing law the

unlawfulness of his conduct was ‘apparent.’” Grossman v. City of Portland, 33 F.3d


                 12 It is unclear if Plaintiff brings the § 1981 and 1983 claims action against Dr.
Fang in his official capacity. If so, these claims must also be dismissed against Dr. Fang because
an official acting in official capacity is not a “person” under § 1983. See Will v. Michigan Dep't of
State Police, 491 U.S. 58, 71; Staples v. Dep't of Soc. & Health Servs., 2009 WL 412920, at *1
(W.D. Wash. Feb. 17, 2009) (Individuals in their official capacity cannot be sued under § 1981).




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1200, 1208 (9th Cir. 1994) (quoting Anderson, 483 U.S. at 640). “When properly

applied, qualified immunity protects all but the plainly incompetent or those who

knowingly violate the law.” Taylor v. Barkes, 135 S. Ct. 2042, 2044, 192 L. Ed. 2d 78

(2015) (internal punctuation and citations omitted).

i. Section 1981

                 Dr. Fang is entitled to qualified immunity on Plaintiff’s § 1981 claim

because Plaintiff relies on actions that do not constitute race discrimination under

clearly established law. Although Plaintiff casts his claims as “race” and “national origin”

discrimination, they are based entirely on shared Chinese culture – not on race. Section

1981 provides a federal remedy against race-based discrimination. Runyon v.

McCrary, 427 U.S. 160, 168, 96 S.Ct. 2586, 49 L.Ed.2d 415 (1976) (noting that §

1981 applies only to race-based discrimination). Plaintiff alleges that a shared Chinese

culture led to Dr. Fang’s requests. When Plaintiff refused, he alleges that Dr. Fang

retaliated. This is not sufficient to state a claim under § 1981. See Saint Francis Coll. v.

Al-Khazraji, 481 U.S. 604, 613, 107 S. Ct. 2022, 2028, 95 L. Ed. 2d 582 (1987) (to

determine on remand whether plaintiff can prove he was subject to intentional

discrimination under § 1981 based on the fact that he was born an Arab, rather than

solely on the place or nation of origin).

ii. Section 1983

                 Dr. Fang is also entitled to qualified immunity on Plaintiff’s § 1983 claim.

Plaintiff must show that Dr. Fang discriminated against him “with respect to his

compensation, terms, conditions, or privileges of employment” because of his national

origin. 42 U.S.C. § 2000e-2; See Peters v. Lieuallen, 746 F.2d 1390, 1393 (9th Cir. 1984)

(because plaintiff failed to prove intentional discrimination under Title VII, claims
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under § 1983 must also fail). Plaintiff essentially alleges that Dr. Fang discriminated

against him by performing personal favors unrelated to the workplace. Amended

Complaint ¶s 38-40. These requests do not constitute a change in the terms and

conditions of Plaintiff’s employment. 13 Title VII’s antidiscrimination provision

“explicitly limit[s] the scope of that provision to actions that affect employment or alter

the conditions of the workplace.” See Burlington N. & Santa Fe Ry. Co. v. White, 548

U.S. 53, 62, 126 S. Ct. 2405, 2411–12, 165 L. Ed. 2d 345 (2006) (distinguishing

substantive discrimination adverse actions from discriminatory retaliation that can

occur outside the workplace). Discrimination in this context includes actions that affect

an individual’s “compensation, workplace conditions, responsibilities, or status” in the

workplace. Woods v. Washington, 475 F. App'x 111, 112 (9th Cir. 2012).

                 None of the alleged requests by Dr. Fang impacted the terms and

conditions of Plaintiff’s employment. Nor could the alleged unlawfulness of these

“demands” be apparent to Dr. Fang because Plaintiff admits that he never outwardly

expressed unwillingness to comply and Dr. Fang also helped Plaintiff with non-work

requests (immigration paperwork, summer camp recommendations). Reeves Dec., Ex. 1

(Pl. Dep. 169:13-24; 203:10-25; 204:16-21); Fang Dec. ¶ 13. Defendants are unaware of a

case where acts performed outside of work in the context of a friendship formed the

basis for a discrimination claim. Applying qualified immunity, it cannot be said that

when Dr. Fang made the requests that he understood he was violating Plaintiff’s clearly

established rights. See Reichle v. Howards, 566 U.S. 658, 664 (2012) (To be clearly



             13 Notably, Plaintiff does not allege that Dr. Fang’s requests created a hostile
work environment.


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established, a right must be sufficiently clear “that every reasonable official would [have

understood] that what he is doing violates that right.”). Accordingly, Dr. Fang is entitled

to qualified immunity on Plaintiff’s § 1983 claim.

                 c.    Plaintiff has no evidence of discrimination or bias
                       by Dr. Fang.

                 As discussed above, Plaintiff lacks evidence of discrimination by Dr. Fang

to support Plaintiff s Title VII and ORS 659A 030. Title VII and Section 1981 both

prohibit discrimination on the basis of race. Claims brought under 1981 and 1983

require proof of intentional discrimination. See Washington v. Davis, 426 U.S. 229, 96

S.Ct. 2040, 48 L.Ed.2d 597 (1976); Craig v. County of Los Angeles, 626 F.2d 659 (9th

Cir. 1980), cert. denied, 450 U.S. 919, 101 S.Ct. 1364, 67 L.Ed.2d 345 (1981). Plaintiff

cannot meet his burden under Title VII or his burden for intentional discrimination

under 1981 or 1983.

        5.       Count IV: Whistleblower Retaliation - ORS 659A.203
                 Against University

                 ORS § 659A.203 forbids a public employer from “[p]rohibit[ing] any

employee from disclosing, or tak[ing] or threaten[ing] to take disciplinary action against

an employee for the disclosure of any information that the employee reasonably believes

is evidence of,” among other things, “[a] violation of any federal or state law” or

“[m]ismanagement, gross waste of funds or abuse of authority or substantial and

specific danger to public health and safety resulting from action of the state, agency or

political subdivision.” ORS 659A.203. To establish a prima facie case, Plaintiff must

show that he “(1) engaged in a protected activity, (2) suffered an adverse employment

decision, and (3) there was a causal link between the protected activity and the adverse

employment decision.” Lindsey v. Clatskanie People's Util. Dist., 140 F. Supp. 3d 1077,

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1091 (D. Or. 2015), citing Neighorn v. Quest Health Care, 870 F.Supp.2d 1069, 1102

(D.Or.2012). Plaintiff fails the first and third elements.

                 As noted, Plaintiff made no reports of any alleged discriminatory conduct

or unethical requests by Dr. Fang until after his tenure was denied. Plaintiff made no

effort to find applicable policies to determine if Dr. Fang’s requests were unethical.

Reeves Dec., Ex. 1 (Pl. Dep. 86:15-22). He had never seen University’s Code of Ethics or

Fraud, Waste, or Abuse Reporting Policies before this lawsuit. Id. (Pl. Dep. 87:15-18;

98:23-99:4). Had he reviewed them (as required by contract), he would have found that

employees are required to “act with responsibility by reporting unethical and illegal

conduct to appropriate authorities.” Reeves Dec., Ex. 46.

                 Plaintiff never made any reports to the University hotline or to anyone

prior to the time the Provost denied his tenure. Plaintiff explicitly admitted that

intentionally did not make any such report. His initial draft of his response letter to the

Dean included “general allegations” of being asked to engage in unethical behavior;

upon advice of his faculty union, he took them out. Id. (Pl. Dep. 100:5-22; 177:1-12).

Thus, the February 2016 letter contained no such allegations, and Plaintiff never raised

any other complaints about unlawful or unethical behavior prior to the Provost’s

decision to deny tenure. Id. (Pl. Dep. 102:4-14). Accordingly, neither the University nor

Dr. Fang knew about any whistleblowing for which they could retaliate against during

the tenure review process – because no such whistleblowing occurred.

        6.       Count V: Breach of Contract - Against University

                 a.     Plaintiff was not guaranteed tenure.

                 “To state a claim for breach of contract, plaintiff must allege the existence

of a contract, its relevant terms, plaintiff's full performance and lack of breach and

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defendant's breach resulting in damage to plaintiff.” Slover v. Oregon State Bd. of

Clinical Soc. Workers, 144 Or. App. 565, 570 (1996) (internal citation and quotation

omitted). Plaintiff bases his breach of contract claim on the April 23, 2014 renewal letter

that stated that if his two papers were “accepted for publication in the very near future,

[it] could, as part of your overall research portfolio, lead to a favorable tenure decision.”

Amended Complaint ¶ 163; Reeves Dec., Ex. 18 (UO1127-1128) (emphasis in original).

                 The 2014 renewal letter did not give rise to a contract concerning tenure.

The authors of the letter—the LCB Deans—had no authority to bind the University to a

contract, and even Plaintiff acknowledges that only the Provost could award tenure.

Further, the letter states he could receive tenure not that he would. Plaintiff cannot

credibly claim that his 2014 renewal letter constituted a contract guaranteeing him

tenure. See Davis v. Oregon State Univ., 591 F.2d 493, 496 (9th Cir. 1978) (established

tenure standards superseded oral contract from department chairman about tenure

promotion).

                 b.    Plaintiff breached the contract.

                 Plaintiff’s employment with the University was governed by the contracts

he signed. Reeves Dec., Ex. 3 (UO1154), Ex. 5; (Zhang_DS191-193), and Ex. 19

(Zhang_DS210-211). As such, he agreed to comply with University administrative rules

and polices. Reeves Dec., Ex. 1 (Pl. Dep. 61:5-9; 83:8-18; 87:24-88:2; 98:23-99:9;

262:19-263:8). Plaintiff claims that Dr. Fang subjected him to unethical and

discriminatory conduct, but he failed to report this behavior, as required. Plaintiff

breached the agreement when he failed to report. Plaintiff cannot seek to enforce an

agreement that he breached. See Slover, 144 Or. App. at 570 (1996) (plaintiff must



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demonstrate full performance to succeed on breach of contract claim). As such,

Plaintiff’s breach of contract claim should be dismissed.

E.      CONCLUSION

                 Defendants move the Court to grant summary judgment in Defendants’

favor. In the alternative, Defendants seeks summary judgment on each of Plaintiff’s

claims.

DATED: February 27, 2019.

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                            CERTIFICATE OF COMPLIANCE

                 This brief complies with the applicable word-count limitation under LR 7-

2(b), 26-3(b), 54-1(c), or 54-3(e) because it does not exceed 11,000 words, including

headings, footnotes, and quotations, but excluding the caption, table of contents, table

of cases and authorities, signature block, exhibits, and any certificates of counsel.

                 DATED: February 27, 2019.



                                               BULLARD LAW


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                               CERTIFICATE OF SERVICE

                 I hereby certify that on February 27, 2019 I served the foregoing

DEFENDANTS’ MOTION FOR SUMMARY JUDGMENT on:

                 David Griggs
                 Griggs Law Group PC
                 4900 SW Griffith Drive, Suite 165
                 Beaverton, OR 97005

                 Adam Carter
                 R. Scott Oswald
                 The Employment Law Group, PC
                 888 17th St. NW, 9th Floor
                 Washington D.C., DC 20006

        by electronic means through the Court’s Case Management/Electronic Case File
         system, which will send automatic notification of filing to each person listed
         above.

        by mailing a true and correct copy to the last known address of each person
         listed. It was contained in a sealed envelope, with postage paid, addressed as
         stated above, and deposited with the U.S. Postal Service in Portland, Oregon.

        by causing a true and correct copy to be hand-delivered to the last known
         address of each person listed. It was contained in a sealed envelope and
         addressed as stated above.

        by causing a true and correct copy to be delivered via overnight courier to the
         last known address of each person listed. It was contained in a sealed envelope,
         with courier fees paid, and addressed as stated above.

        by faxing a true and correct copy to the last known facsimile number of each
         person listed, with confirmation of delivery. It was addressed as stated above.

        by emailing a true and correct copy to the last known email address of each
         person listed, with confirmation of delivery.


                                                s/ Liani J. Reeves
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